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                                            Certificate Number: 00252-TXN-DE-000444873

                                            Bankruptcy Case Number: 06-31209



                     CERTIFICATE OF DEBTOR EDUCATION
                   June 12, 2006
I certify that on _____________________, Ray Cosme
                                         ___________________________________________

completed a course on personal financial management given by

Institute for Financial Literacy, Inc.
_____________________________________________________________________________,

a provider approved pursuant to 11 U.S.C. § 111 to provide an instructional course concerning

                                      Northern District of Texas
personal financial management in the _______________________________.



     June 12, 2006
Date:______________________         By      /s/Pearl Armstrong
                                            _________________________________________

                                         Pearl Armstrong
                                    Name _________________________________________

                                    Title   Credit Counselor
                                            _________________________________________
